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                                              8                     UNITED STATES DISTRICT COURT
                                              9                   CENTRAL DISTRICT OF CALIFORNIA
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                                            11    COLOR IMAGE APPAREL, INC.                Case No.: 2:21-cv-07187-SVW-MAR
             A PROFESIONAL CORPORATION




                                                  and BELLA+CANVAS, LLC,
                                            12                                             [PROPOSED] ORDER GRANTING
THOITS LAW




                                                                   Plaintiff,              JOINT STIPULATION TO
                                            13                                             CONTINUE HEARING DATE ON
                                                       v.                                  DEFENDANT’S MOTION FOR
                                            14                                             ATTORNEYS’ FEES (DKT. 81)
                                            15    DEREK JAESCHKE, an individual,           Pursuant to L.R. 7-1 and 7-11
                                                  and DOES 1 through 10, inclusive,
                                            16                                             New Motion Hearing:
                                                                   Defendant.              August 8, 2022
                                            17                                             1:30 p.m.
                                                                                           Courtroom 10A
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                                                                                [PROPOSED] ORDER
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                                              1         Currently before the Court is the Joint Stipulation by Plaintiffs Color
                                              2   Image Apparel, Inc. and Bella+Canvas, LLC, and Defendant Derek Jaeschke, to
                                              3   continue the hearing date for Defendant’s Motion for Attorneys’ Fees. Having
                                              4   considered the Joint Stipulation and accompanying declaration, and the other
                                              5   matters of record in this action, and good cause appearing therefore:
                                              6         IT IS HEREBY ORDERED:
                                              7         A)     The Stipulation is GRANTED;
                                              8         B)     The hearing date on Defendant’s Motion for Attorneys’ Fees
                                              9                (“Motion”) is continued to August 8, 2022, at 1:30 p.m. and will be
                                            10                 vacated entirely upon timely filing of a Notice Of Withdrawal of
                                            11                 the Motion by Defendant pursuant to Local Rule 7-16.
             A PROFESIONAL CORPORATION




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THOITS LAW




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                                            15    Dated: _____________                         ___________________________
                                                                                               Hon. Stephen V. Wilson
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                                                                                               United States District Court Judge
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                                                                                   [PROPOSED] ORDER
